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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION AT LONDON
                                    CRIMINAL MINUTES – GENERAL


Case No. 6:17-CR-036-CHB                   At London                      Date August 27, 2020


USA vs. Rodney Scott Phelps              X present          custody    X bond             OR      Age

PRESENT: HON. CLARIA HORN BOOM, U.S. DISTRICT JUDGE

                                                                           Kathryn Anderson, Kenneth
                                                                            Taylor, Haley McCauley &
                   Jackie Brock                Kimberley Keene                     Rajbir Datta
                   Deputy Clerk                 Court Reporter               Assistant U.S. Attorney


Counsel for Def. Andrew Stephens                X present             retained        X appointed


PROCEEDINGS: TELEPHONIC CONFERENCE

        This matter was called for a telephonic conference to discuss the United States’ pending Motion for Order
of Forfeiture for Forfeiture Money Judgment [R. 211], with counsel and defendant present as noted. Also present
on the call was U.S. Probation Officer, Brandan Hall. The Court heard statements from counsel and the defendant
regarding the pending motion. The Court being sufficiently advised, it is hereby

       ORDERED as follows:

       1. With the consent of defendant, Rodney Scott Phelps, Hon. Andrew Stephens shall remain as CJA

counsel for defendant through resolution of the Motion for Order of Forfeiture for Forfeiture Money Judgment.

       2. The United States shall file a supplemental brief on the forfeiture issue by no later than September

24, 2020.

       3. Defense counsel shall file a response within two (2) weeks thereafter.

       4. The matter will then stand submitted to the Court for ruling.




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Initials of Deputy Clerk: jmb
TIC: 0/21




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